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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:

 GOD’S CHARIOTS TO THE HEAVENLY                                     Case No.: 16-13585 (SMB)
 HIGHWAY INC.,                                                      Chapter 11

                                    Debtor.
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         ORDER ESTABLISHING DEADLINE FOR FILING PROOFS OF CLAIM
         AND APPROVING THE FORM AND MANNER OF NOTICE THEREOF


        It appearing that entry of this Order is in the best interests of the Debtor, its estate, and

creditors and that no further notice is necessary; and after due deliberation and good and

sufficient cause appearing therefor, it is hereby


        ORDERED, that except as otherwise provided herein, all persons and entities,

(including, without limitation, individuals, partnerships, corporations, joint ventures, trusts and

governmental units) that assert a claim, as defined in Section 101(5) of the Bankruptcy Code,

against the Debtors which arose on or prior to the filing of the Chapter 11 petitions of

December 27, 2016, (the “Filing Date”), shall file a proof of such claim in writing or

electronically on the Court’s website at www.nysb.uscourts.gov so that it is received on or

before January 4th, 2019; and it is further

        ORDERED, that the following procedures for the filing of proofs of claim shall apply:

                 (a)     Proofs of claim must conform substantially to Official Bankruptcy Form

                  No. 410;

                 (b)     Proofs of claim must be filed either by mailing the original proof of

                  claim either by U.S. Postal Service mail or by overnight delivery to the United
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                States Bankruptcy Court, Southern District of New York, One Bowling Green,

                New York, NY 10004 or by delivering the original proof of claim by hand to

                the United States Bankruptcy Court, Southern District of New York, One

                Bowling Green, New York, NY 10004;

               (c)    Attorneys (with full access accounts) and employees of institutional

                creditors (with limited access accounts) should file proofs of claim

                electronically on the Court’s Case Management/Electronic Case File

                (“CM/ECF”) system. Those without accounts with the CM/ECF system may

                electronically create and file proofs of claim through the “File A Proof of

                Claim” link on the Court’s website at www.nysb.uscourts.gov or by mailing

                or delivering the original proof of claim to the United States Bankruptcy

                Court, Southern District of New York, One Bowling Green, New York, NY

                10004;

               (d)    Proofs of claim will be deemed filed only when received by the Clerk of

                the Bankruptcy Court on or before the Bar Date;

             (e)      Proofs of claim must (i) be signed; (ii) include supporting

                documentation (if voluminous, attach a summary) or an explanation as to why

                documentation is not available; (iii) be in the English language; and, (iv) be

                denominated in United States currency; and it is further


      ORDERED, Proofs of Claim need not be filed as to the following types of claims:

               (a)    Any claim as to which the holder has already filed a proof of claim against

               the Debtors in the above-captioned case in a form substantially similar to Official


 
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                Bankruptcy Form No. 410;

                 (b)    Any claim that is listed on the Schedules filed by the Debtors, provided that

                (i) the claim is not scheduled as “disputed”, “contingent” or “unliquidated”; and

                (ii) the claimant does not disagree with the amount, nature and priority of the

                claim as set forth in the Schedules;

                 (c)    Any claim that heretofore has been allowed by Order of this Court;

                 (d)    Any claim that has been paid in full by any of the Debtors;

                 (e)    Any claim for which different specific deadlines have previously been

                fixed by this Court;

                 (f)    Any claim allowable under § 503(b) and § 507(a) (2) of the Bankruptcy

                Code as an expense of administration of the Debtor’s estate, except as otherwise

                provided below;

          ORDERED, claims under section 503(b)(9) must be filed by the deadlines set forth in

this Order, and it is further;

          ORDERED, that any person or entity that holds a claim that arises from the rejection

of an executory contract or unexpired lease, as to which the order authorizing such rejection is

dated on or before the date of entry of this Order, must file a proof of claim based on such

rejection on or before the Bar Date, and any person or entity that holds a claim that arises from

the rejection of an executory contract or unexpired lease, as to which an order authorizing such

rejection is dated after the date of entry of this Order, must file a proof of claim on or before

such date as the Court may fix in the applicable order authorizing such rejection; and it is

further


 
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         ORDERED, that if the Debtors amend or supplement the Schedules subsequent to the

date hereof, the Debtors shall give notice of any amendment or supplement to the holders of

claims affected thereby, and such holders shall be afforded thirty (30) days from the date of

such notice to file proofs of claim in respect of their claims and shall be given notice of such

deadline; and it is further


        ORDERED, that nothing in this Order shall prejudice the right of the Debtor or any

other party in interest to dispute or assert offsets or defenses to any claim reflected in the

Schedules; and it is further


        ORDERED, that pursuant to Bankruptcy Rule 3003(c)(2), all holders of claims that fail

to comply with this Order by timely filing a proof of claim in appropriate form shall not be

treated as a creditor with respect to such claim for the purposes of voting and distribution; and it

is further

        ORDERED, that a copy of the notice substantially in the form annexed hereto is

approved and shall be deemed adequate and sufficient if served by first-class mail at least thirty-

five (35) days prior to the Bar Date on:

               (a)     The Office of the United States Trustee;

               (b)     All persons or entities that have requested notice of the proceedings in the

              Chapter 11 cases;

               (c)     All persons or entities that have filed claims;

               (d)     All creditors and other known holders of claims as of the date of this

              Order, including all persons or entities listed in the Schedules as holding claims;

               (e)     All parties to executory contracts and unexpired leases of the Debtors;

 
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                 (f)      All parties to litigation with the Debtors;

                 (g)      The Internal Revenue Service for the district in which the case is pending

                and, if required by Bankruptcy Rule 2002(j), the Securities and Exchange

                Commission and any other required governmental units (a list of such agencies is

                available from the Office of the Clerk of the Court); and

                 (h)      Such additional persons and entities as deemed appropriate by the

                Debtors; and it is further

          ORDERED, that any person or entity who desires to rely on the Schedules will have

the responsibility for determining that the claim is accurately listed in the Schedules; and it is

further

          ORDERED, that the Debtors is authorized and empowered to take such steps and

perform such acts as may be necessary to implement and effectuate the terms of this Order; and

it is further

          ORDERED, that entry of this Order is without prejudice to the right of the Debtors to

seek a further order of this Court fixing a date by which holders of claims or interests not subject

to the Bar Date established herein must file such proofs of claim or interest or be barred from

doing so.

Dated: New York, New York
       November 28th, 2018


                                                      /s/ STUART M. BERNSTEIN
                                                   UNITED STATES BANKRUPTCY JUDGE




 
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